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UNITED STATES BANKRUPTCY COURT
SOUTHERN DISTRICT OF NEW YORK
--------------------------------------------------------------- x
In re:                                                          :
                                                                :   Chapter 7
DOROTHY M. TUCKER                                               :   Case No. 19-23187 (RDD)
                                                                :
                                    Debtor(s).                  :
--------------------------------------------------------------- x

                               STIPULATION AND ORDER
                      EXTENDING TRUSTEE’S AND UNITED STATES
                TRUSTEE’S TIME TO OBJECT TO THE DEBTOR’S DISCHARGE,
                EXEMPTIONS AND/OR FILE MOTION UNDER 11 U.S.C. § 707(b)

                   IT IS HEREBY STIPULATED AND AGREED by and among the Debtor, the

Trustee and the United States Trustee as follows:

                   1.       The time period within which the Trustee and the United States Trustee

may object to the Debtor’s discharge pursuant to 11 U.S.C. § 727 and/or object to exemptions

pursuant to Federal Rule of Bankruptcy Procedure 4003(b) and/or the United States Trustee’s

time to file a motion pursuant to 11 U.S.C. § 707(b) be and are hereby extended to and including

October 31, 2019, without prejudice to any further extension of time that the United States

Trustee or the Trustee may seek.

                   2.       This stipulation may be executed in counterparts and each such

counterpart together with the others shall constitute one and the same instrument, and facsimile

and scanned signatures herein shall be deemed to be original signatures.

              3.            The parties hereto consent to the entry of the stipulation as an order in this
Chapter 7 case.




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Dated: Wappingers Falls, New York              DEBTOR
       July 29, 2019
                                               /s/ Dorothy M. Tucker
                                               Dorothy M. Tucker

                                               ATTORNEY FOR DEBTOR
                                               By: Genova & Malin

                                               /s/ Michelle L. Trier
                                               Name: Michelle L. Trier
                                               Address: Hampton Business Center
                                                          1136 Route 9
                                                           Wappingers Falls, NY 12590
                                               Tel: 845.298.1600
                                               Email: michelle_genmal@optonline.net


Dated:      New York, New York                 HOWARD P. MAGALIFF,
            June 28, 2019                      Chapter 7 Trustee
                                               By:

                                               /s/ Howard P. Magaliff
                                               335 Madison Avenue, 9th Floor
                                               New York, NY 10173
                                               Tel: 646.453.7851
                                               Email: trustee@r3mlaw.com


Dated:      New York, New York                 WILLIAM K. HARRINGTON
            July 29, 2019                      UNITED STATES TRUSTEE
                                               By:

                                               /s/ Paul Schwartzberg
                                               Paul Schwartzberg, Trial Attorney
                                               201Varick Street, Suite 1006
                                               New York, NY 10014
                                               Tel: 212.510.0500

SO ORDERED this 30th
day of July, 2019

/s/ Robert D. Drain
ROBERT D. DRAIN
UNITED STATES BANKRUPTCY JUDGE


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